    Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 1 of 10 PageID 1784
A0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMIh'AL CASE
                                                               CASE NUMBER: 8:05-cr-420-T-30TBM
                                                               USM NUMBER: 18414-004


SERGIO PANTOJA
                                                               Defendant's Attorney: Bruce Maloy, ret.

THE DEFENDANT:

-
X pleaded gullty to count(s) ONE and THREE of the Ind~ctment.
-pleaded nolo contendere to count($ which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

21 U.S.C. 5 $846 and                Conspiracy to Possess With Intent to      1980s                                   One
841(b)(l)(A)(ii)                    Distribute 5 Kilograms or More of Cocaine

18 U.S.C. 9 1956(h) and 1957        Conspiracy to Commit Money Laundering         September 28,2005                   Three
                                    Offenses


       The defendantis sentencedas providedin pages 2 through 6 of thisjudgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

-The defendant has been found not guilty on count@)
X Count(s) TWO of the Indictment are dismissed on the motionof the United States.

lT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must not,& the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: March 20,2008




                                                                                   IY ED STATES DISTRICT
                                                                                       I
                                                                                  YY
                                                                                  DATE: March             2008
     Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 2 of 10 PageID 1785
A 0 245B (Rev 06/05) Sheet 2 - ltnprisonrnent (Judgment in a Criminal Case)
Defendant:          SERGIO PANTOJA                                                                           Judgment - Page 2of 6
Case No.:           8:05-cr-420-T-3OTBM

                                                              IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $8
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED and EIGHTY-FIVE (135) MONTHS. This term consists of ONE HUNDRED and
EIGHTY-FIVE (185) MONTHS as to Counts One and Three of the Indictment, all such terms to run concurrently.




X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Miami (FL).
-
The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          -at -a.m./p.m. on -.
          - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          -as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Oilice.


                                                                       RETURN

          I have executed this judwent as follows:




          Defendant delivered on                                            to
- at                                                                   , with a certified copy of this judgment.



                                                                                  United States Marshal


                                                                                          Deputy United States Marshal
     Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 3 of 10 PageID 1786
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         SERGIO PANTOJA                                                                                Judgment - Page 3of 6--
Case No.:          8:05-cr-420-T-30TBM
                                                         SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS. This term
consists of FIVE (5) YEARS as to Count One of the Indictment and THREE (3) YEARS as to Count Three of the Indictment, all
such terms to run concurrently.

         The defendant must report to the probation office in the district to which the defendant is released w i t h 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime. The defendant shall not unlawfblly possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter. as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation oflicer;

          the defendant shall report to the probation officer and shall submit a truthful and cotnplete written report within the tirst five days of each
          month;

          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a l a d u l occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation oficer at least ten days prior to any change in residence or employment;

          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adtninister any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;

          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer:

          the defendant shall notiij, the probation officer within seventy-two hours of being arrested or questioned by a law enforcetnent officer;

          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

          as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation otticer to make such notifications and to confirm the defendant's
          compliance with such notification requirement.
    Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 4 of 10 PageID 1787

A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:         SERGIO PANTOJA                                                                     Judgment - Page 4 of 6
Case No.:          8:05-cr-420-T-30TBM

                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

-
X        The defendant shall participate in a substance abuse program (outpatient andlor inpatient) and follow te probation officer's
         instructions regarding the implementation of this court directive. Further. the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Substance Abuse Treatment Services. During and upon completion of this program. the defendant is directed to submit to
         random drug testing.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
     Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 5 of 10 PageID 1788
 A 0 245B (Rev 06/05) Shect 5 - Criminal Monetary Penaltics (Judgment in a Criminal Case)

 Defendant:          SERGIO PANTOJA                                                          Judgment - Page          of 6
 Case No.:           8:05-cr-420-T-30TBM

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                           Fine                       Total Restitution

          Totals:            $200.00                              Waived                     NIA


 -        The determination of restitution is deferred until        .       An Arnezrcied Judgment in a Crimi~zalCuse ( A 0 245C) will
          be entered after such determination.

 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ent column below. However, pursuant to 18 U.S.C. 5
          3664(i), all non-federal victims must be p a d before the x t e d States.


 Name of Pavee                                  Total Loss*                 Restitution Ordered                 Prioritv or Percentape




                             Totals:

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in k l l
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default: pursuant to 18 U.S.C. 9 36 12(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 1lOA. and 113A of Title 18 for the offenses committed
on or after September 13, 1994. but before April 23, 1996.
     Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 6 of 10 PageID 1789
A 0 245B (Rev 06/05) Sheet 6 - Schedule of' Paylnents (Judgment in a Crirninal Case)

Defendant:         SERGIO PANTOJA                                                                       Judgment - Page 6of 6
Case No.:          8:05-cr-420-T-30TBM



                                                     SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal ~nonetarypenalties are due as follows:

                   Lump sum payment of $ $200.00 due immediately, balance due
                              -not later than                  , or
                              -in accordance - C, - D, - E or - F below; or
                   Payment to begn immediately (may be combined with -C, -D, or -F below): or
                   Payment in equal          (e.g., weekly. monthly. quarterly) installments of $          over a period
                   of -(e.g., months or years), to commence             days (e.g., 30 or 60 days) after the date of thls
                   judgment: or
                   Payment in equal              (e-g., weekly. monthly. quarterly) installments of $           over a period of
                               , (e.g.. months or years) to commence                     (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
                   Payment during the term of supervised release will commence within                  (e-g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost@):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
         The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property. or portions thereof, subject to forfeiture, whlch are in the possession or control of the defendant or the defendant's
nominees. including but not limited to. the real propert , vehicles. boats or vessels, monies, and 'ewelry, listed in the
                                                                                                                   d
preliminary order of forfeiture. The Court makes the pre$minary order of forfeiture a final order an hereby includes it in
this judgment.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penal ties, and (8) costs, including cost of prosecution and court costs.
Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 7 of 10 PageID 1790




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


        UNITED STATES OF AMERICA, :

               Plaintiff,

        v.                                                CASE NO. 8:05-cr-420-T-30TBM

        SERGIO PANTOJA,

               Defendant.



                            PRELIMINARY ORDER OF FORFEITURE

               THIS CAUSE comes before the Court on United States' motion for entry of

        a Preliminary Order of Forfeiture (Dkt. #380), forfeiting to the United States all right,

        title, and interest of defendant Sergio Pantoja pursuant to the provisions of 21

        U.S.C. § 853 for violations of 21 U.S.C. §§ 841(a)(l), 21 U.S.C. § 846, and

        841(b)(l)(A)(ii), for which the defendant has been found guilty as charged in Count

        One of the lndictment, and 18 U.S.C. 5 982(a)(1) for violations of 18 U.S.C. 5

        1956(h), for which the defendant has been found guilty as charged in Count Three

        of the lndictment. The Court, being fully advised in the premises, hereby finds that
                                                                            /




        the government has established the requisite nexus between the assets described

        below and the violations to which defendant Sergio Pantoja pled guilty as charged

        in Counts One and Three of the lndictment. Accordingly, the following assets are

        subject to forfeiture pursuant to the provisions of 21 U.S.C. § 853 and/or 18 U.S.C.
Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 8 of 10 PageID 1791




              A.     Real property, including all improvements thereon and appurtenances

        thereto, located at the following addresses:

                     (1)    448 Tamarind Drive, Hallandale, Florida 33009-6542, which is
                            legally described as follows:

                            Lot 8, Block 7, GOLDEN ISLES SECTION "B", according to the
                            Plat thereof, as recorded in Plat Book 45, at Page 30, of the
                            Public Records of Broward County, Florida.

                            Parcel ldentification Number: 11226-05-08900; and

                     (2)    11061 NW 39 Street, Coral Springs, Florida 33065, which is
                            legally described as follows:

                            Lot 17, Block S,GLENWOOD SUBDIVISION, according to the
                            Plat thereof, as recorded in Plat Book 69, Page 33 of the Public
                            Records of Broward County, Florida.

                            Folio Number: 81 17-02-434.

              B.     The following vehicles:

                     (1)    1991 Mercedes-Benz 560 SEL,
                            Vehicle ldentification Number: WDBCA39E3MA558062
                            Owner of Record: Sergio 6. Pantoja; and

                     (2)    2004 Cadillac Escalade ESV,
                            Vehicle ldentification Number: 3GYFK66N94G175367
                            Owner of Record: S-ergio6. Pantoja.

              C.     The following boats:

                     (1)    1983 68' Hatteras "Costa Brava",
                            Registration Number: FL8620EW,
                            HULL ldentification Number: LSW343001098
                            Owner of Record: Sergio B. Pantoja;
Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 9 of 10 PageID 1792




                      (2)    1976 37' Irwin Saliboat, Registration Number: FL5861SG,
                             HULL ldentification Number: XYM372140776
                             Owner of Record: Sergio B. Pantoja;

                      (3)    1977 WELLC Vessel, Registration Number: FLOW1DA
                             HULL Identification Number: 01895M77GN25
                             Owner of Record: Sergio B. Pantoja.

               D.     The following monies seized from the following bank accounts and



                             Wachovia Bank Account Number 2090001920799 held in the
                             name of Imperial Marine, Inc., in the amount of $2,137.80;

                             Wachovia Bank Account Number 1010018400733 held in the
                             name of Sergio Pantoja, in the amount of $1,618.05;

                             $35,000 in United States currency, seized from Sergio Pantoja,
                             during the execution of a search warrant at his residence
                             located at 448 Tamarind Drive, Hallandale, Florida.

               E.     The assorted jewelry, valued at $7,575.00, seized from Sergio
                      Pantoja, during the execution of a search warrant at his residence
                      located at 448 Tamarind Drive, Hallandale, Florida.

               Accordingly, it is hereby

               ORDERED, ADJUDGED, and DECREEDthat the United States' motion (Dkt.

        #380) is GRANTED. It is FURTHER ORDERED that all right, title, and interest of

        defendant Sergio Pantoja in the assets identified above are hereby condemned and

        forfeited to the United States of America for disposition according to law, pursuant

        to the provisions of 21 U.S.C. § 853 and/or 18 U.S.C. § 982(a)(I).

              The Court retains jurisdiction to enter any further orders necessary for the

        forfeiture and disposition of the subject property, and to entertain any third party
Case 8:05-cr-00420-JSM-TBM Document 509 Filed 03/20/08 Page 10 of 10 PageID 1793




         claims that may be asserted in the ancillary proceedings.

               DONE and ORDERED in Tampa, Florida on September 26, 2007.




         Copies to:
         Anita M. Cream, AUSA
         AttorneyslParties of Record
